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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

 THOMAS J. BROWN,

          Plaintiff,

 v.                                              CASE NO.

 CITIBANK, N.A. and
 ARS NATIONAL SERVICES, INC.,

          Defendants.

                                  NOTICE OF REMOVAL

          PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C. §§ 1331, 1441(a)-(b),

 and 1446, defendant Citibank, N.A. (“Citibank”) hereby removes the action entitled

 Thomas J. Brown v. Citibank, N.A., et al., which is pending in the Circuit Court for the

 Sixth Judicial Circuit of Florida, in and for Pasco County, Case No. 16-CA-000029 (the

 “Action”), to the United States District Court for the Middle District of Florida on the

 following grounds:

          1.      On January 6, 2016, Plaintiff, Thomas J. Brown, filed his original

 complaint against Citigroup, Inc. and ARS National Services Inc.

          2.      Citibank was not a party to the original complaint.

          3.      On February 9, 2016, Citigroup, Inc. received service of the Summons and

 Complaint in the Action.

          4.      On March 9, 2016, Plaintiff filed an Amended Complaint, dropping

 Citigroup, Inc. and adding Citibank. Plaintiff also requested a new summons, for service

 of the Amended Complaint on Citibank.



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          5.    As of the date of this Notice of Removal, Citibank has not been served in

 the Action.

          6.    In any event, Citibank has timely filed this Notice of Removal.

          7.    Copies of the Amended Complaint, the original summons, the original

 complaint, and all exhibits filed in the Action are attached hereto as Exhibit A.

          8.    The Action is a civil action of which this Court has original jurisdiction

 under 28 U.S.C. § 1331 and is one which may be removed to this Court by Citibank

 pursuant to the provisions of 28 U.S.C. § 1441(a) because Plaintiff, Thomas J. Brown,

 alleges violations of the federal Telephone Consumer Protection Act, 47 U.S.C. § 227, et

 seq. (see, e.g., Amended Complaint, ¶¶ 52-57) and the federal Fair Debt Collection

 Practices Act, 15 U.S.C. § 1692, et seq. (see, e.g., Amended Complaint ¶¶ 58-66), claims

 which are created by and arise under federal law. To the extent any other claims in the

 Action may arise under state law, supplemental jurisdiction over such claims exists

 pursuant to 28 U.S.C. §§ 1367 and 1441(c).

          9.    This Court is the proper district court and division for removal because the

 Action is pending in Pasco County, Florida. See Local Rule 1.02(b)(5).

          10.   Citibank is simultaneously filing a copy of this Notice of Removal of

 Action with the state court in the Action. Citibank will serve Plaintiff with copies of this

 Notice of Removal and the notice filed in the Action.

          11.   By virtue of this Notice of Removal of Action and the notice filed in the

 Action, Citibank does not waive its rights to assert any personal jurisdictional defenses or




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 other motions including Rule 12 motions, motions to compel arbitration, or both, as

 otherwise permitted by the Federal Rules of Civil Procedure.

          12.   Citibank certifies, to the best of its knowledge, that: true and legible copy

 of all process, pleadings, orders, and other papers or exhibits now on file in the state court

 have been attached to this Notice of Removal of Action; and there are no motions

 pending in the state court.

          13.   Citibank certifies that it conferred with ARS National Services Inc., the

 other defendant in the Action, who consents to this Notice of Removal of Action. A

 Joinder and Consent to Notice of Removal of Action is attached as Exhibit B.

          Dated: March 10, 2016                 Respectfully submitted,

                                                AKERMAN LLP

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                            CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished
 by email to Plaintiff's counsel, Michael A. Ziegler at mike@zieglerlawoffice.com, and to
 Counsel for ARS National Services Inc. Louis M. Ursini III at Louis.Ursini@arlaw.com
 on this 10th day of March, 2016.

                                             /s/ John L. Dicks II
                                             Attorney




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